Case 1:22-cr-00553-ENV Document 14 Filed 12/20/22 Page 1 of 7 PageID #: 129
                                                         FILED
                                                         IN CLERK’S OFFICE
                                                         US DISTRICT COURT E.D.N.Y.
                                                         * DECEMBER 20, 2022 *
CRH:DMP/ICR/NCG                                          BROOKLYN OFFICE
F. #2020R00785

UNITED STATES DISTRICT COURT                             Judge Eric N. Vitaliano
                                                         Magistrate Judge Robert M. Levy
EASTERN DISTRICT OF NEW YORK
                                       -X


UNITED STATES OF AMERICA                                 INDICTMENT


        - against -                                       Cr. No.   22-CR-553
                                                         (T. 18, U.S.C.,§§ 981(a)(1)(C),
MOHAMMAD DAVID HASHIMI,                                   981(a)(1)(G), 982(a)(1), 982(b)(1),
SEEMA RAHMAN,                                             1956(h), 2339B(a)(l), 2339B(d),2 and
ABDULLAH AT TAQI and                                      3551 etseq.: T. 21,U.S.C.,§ 853(p);
KHALELULLAH YOUSUF,                                       T. 28,U.S.C.,§ 2461(c))

                         Defendants.


                                        X


THE GRAND JURY CHARGES:

                                            COUNT ONE
        (Conspiracy To Provide Material Support To A Foreign TeiTorist Organization)

                1.     In or about and between July 2020 and December 2022, both dates being

approximate and inclusive, within the Eastern District of New York and the extmtenitorial

jurisdiction ofthe United States, the defendants MOHAMMAD DAVID HASHEMI,SEEMA

RAHMAN,ABDULLAH AT TAQI and KHALILULLAH YOUSUF,together with others, did

knowingly and intentionally conspire to provide material support and resources, as defmed in

Title 18, United States Code, Section 2339A(b), including property and seivices, including

ciurency and monetary instmmeiits, to a foreign terrorist organization, to wit: the Islamic State of

Iraq and al-Sham ("1S1S")> which at all relevant times had been designated by the Secretary of

State as a foreign terrorist organization,Icnowing that ISIS was a designated terrorist

organization and that ISIS had engaged in and was engaging in terrorist activity and terrorism,

and the offense occun'ed in part within the United States, the offense occurred in and affected
Case 1:22-cr-00553-ENV Document 14 Filed 12/20/22 Page 2 of 7 PageID #: 130




interstate and foreign commerce, and the defendants were nationals of and conspired with one or

more nationals ofthe United States (as defined in section 101(a)(22) ofthe Immigration and

Nationality Act).

               (Title 18, United States Code, Sections 2339B(a)(l),2339B(d)and 3551 et sag.I

                                           COUNT TWO
           (Attempt To Provide Material Support To A Foreign Terrorist Organization)

               2.      In or about and between July 2020 and December 2022, both dates being

approximate and inclusive, within the Eastern District ofNew York and the extratenitorial

jurisdiction ofthe United States,the defendants MOHAMMAD DAVID HASHIMI,SEEMA

RAHMAN,ABDULLAH AT TAQI and KHALILULLAH YOUSUF,together with others, did

knowingly and intentionally attempt to provide material support and resoirr'ces, as defined in

Title 18, United States Code, Section 2339A(b), including property and services, including

currency and monetary instruments, to a foreign terrorist organization, to wit: ISIS, which at all

relevant times had been designated by the Secretary of State as a foreign terrorist organization,

knowing that ISIS was a designated terrorist organization and that ISIS had engaged in and was

engaging in terrorist activity and terrorism, and the offense occun*ed in part within the United

States, the offense occurred in and affected interstate and foreign commerce,and the defendants

were nationals of and consphed with one or more nationals ofthe United States (as defined in

section 101(a)(22)ofthe Immigration and Nationality Act).

               (Title 18, United States Code, Sections 2339B(a)(l), 2339B(d),2 and 3551 ^
Case 1:22-cr-00553-ENV Document 14 Filed 12/20/22 Page 3 of 7 PageID #: 131




                                         COUNT THREE
                           (Conspiracy To Commit Money Laundering)

                3.     In or about and between July 2020 and December 2022, both dates being

 approximate and inclusive, within the Eastern District of New York and elsewhere, the

defendants MOHAMMAD DAVID HASHIMI,SEEMA RAHMAN,ABDULLAH AT TAQI

and KHALILULLAH YOUSUF,together with others, did laiowingly and intentionally conspire

to transport, transmit and transfer monetary instruments and funds, to wit: wire transfers and

cryptocurrency hansactions,from one or more places in the United States to and thi'ough one or

more places outside the United States,(a)with the intent to promote the carrying on of one or

more specified unlawful activities, to wit: consphing and attempting to provide material support

and resources to a designated foreign terrorist organization, as charged in Counts One and Two,

contraiy to Title 18, United States Code, Section 1956(a)(2)(A), and(b)knowing that the

monetary instruments and funds involved in the transportation, transmission and tmnsfer

represented the proceeds ofsome foim of unlawful activity, and knowing that such

transportation, ti'ansmission and transfer was designed in whole and in part to conceal and

disguise the nature,the location, the source, the ownership and the control ofthe proceeds ofsaid

specified unlawful activities, contrary to Title 18, United States Code, Section 1956(a)(2)(B)(i).

               (Title 18, United States Code, Sections 1956(h) and 3551 at seq.l

                           CRIMINAL FORFEITURE ALLEGATION
                               AS TO COUNTS ONE AND TWO


               4.     The United States hereby gives notice to the defendants that, upon their

conviction of either ofthe offenses charged in Counts One and Two,the government will seek

forfeiture in accordance with:(a) Title 18, United States Code, Section 981(a)(1)(C) and Title

28,United States Code, Section 2461(c), which require any person convicted ofsuch offenses to
Case 1:22-cr-00553-ENV Document 14 Filed 12/20/22 Page 4 of 7 PageID #: 132




forfeit any propeity, real or personal, constituting or derived from proceeds obtained directly or

indirectly as aresult ofsuch offenses; and(b)Title 18, United States Code, Section 981(a)(1)(G)

and Title 28, United States Code, Section 2461(c), which require the forfeiture of all assets,

foreign or domestic,(i) of any individual, entity or organization engaged in planning or

perpetrating any Federal crime ofterrorism (as defined in Title 18, United States Code, Section

2332b(g)(5)) against the United States, citizens or residents ofthe United States, or their

property, and all assets, foreign or domestic, affording any person a source ofinfluence over any

such entity or organization;(ii) acquired or maintained by any person with the intent and for the

purpose of supporting, planning, conducting or concealing any Federal crime ofterr-orism (as

defmed in Title 18, United States Code, Section 2332b(g)(5)) against the United States, citizens

or residents ofthe United States or their property;(iii) derived from,involved in or used or

intended to be used to commit any Federal crime of tenorism (as defined in Title 18, United

States Code, Section 2332b(g)(5)) against the United States, citizens or residents ofthe United

States or their property; or(iv) of any individual, entity or organization engaged in planning or

perpetrating any act ofinternational terrorism (as defmed in Title 18, United States Code,

Section 2331) against any international organization(as defined in Title 22, United States Code,

Section 4309(b)) or against any foreign government.

               5.     If any ofthe above-described forfeitable properly, as a result of any act or

omission ofthe defendants:


                      (a)     caimot be located upon the exercise of due diligence;

                      (b)     has been tr'ansferred or sold to, or deposited with, a third party;

                      (c)     has been placed beyond thejurisdiction ofthe court;

                      (d)     has been substantially diminished in value; or
Case 1:22-cr-00553-ENV Document 14 Filed 12/20/22 Page 5 of 7 PageID #: 133




                       (e)      has been commingled with other property which cannot be divided

 without difficulty;

it is the intent of the United States, pui'suant to Title 21, United States Code,Section 853(p), to

seek forfeiture of any other propeity ofthe defendants up to the value ofthe forfeitable propeily

described in this forfeiture allegation.

                (Title 18, United States Code, Sections 981(a)(1)(C), 981(a)(1)(G); Title 21,

United States Code, Section 853(p); Title 28, United States Code, Section 2461(c))

                             CRIMINAL FORFEITURE ALLEGATION
                                      AS TO COUNT TflREE


                6.     The United States hereby gives notice to tlie defendants that, upon their

conviction ofthe offense charged in Count Thi'ee, the government will seek forfeiture in

accordance with Title 18, United States Code, Section 982(a)(1), which requires any person

convicted of such offense to forfeit any propeity,real or personal, involved in such offense, or

any property traceable to such property.

               7.      Ifany of the above-described forfeitable property, as a result of any act or

omission ofthe defendants:

                       (a)     cannot be located upon the exercise ofdue diligence;

                       (b)     has been transferred or sold to, or deposited with, a third paity;

                       (c)     has been placed beyond the jurisdiction ofthe court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

without difficulty;

it is the intent ofthe United States, pui'suant to Title 21, United States Code, Section 853(p), as

incorporated by Title 18, United States Code, Section 982(b)(1), to seek forfeiture of any other
Case 1:22-cr-00553-ENV Document 14 Filed 12/20/22 Page 6 of 7 PageID #: 134




 property of the defendants up to the value ofthe forfeitable property described in this forfeiture

 allegation.

                (Title 18, United States Code, Sections 982(a)(1) and 982(b)(1); Title 21,United

 States Code, Section 853(p))




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 5RE0NPEACJ
'UNITED STATES ATTORNEY
 EASTERN DISTRICT OF NEW YORK
                 Case 1:22-cr-00553-ENV Document 14 Filed 12/20/22 Page 7 of 7 PageID #: 135


F. #2020R00785
FORM DBD-34             No.
JUN. 85


                               UNITED STATES DISTRICT COURT
                                             EASTERN District of NEW YORK
                                                     CRIMINAL DIVISION

                                      THE UNITED STATES OF AMERICA
                                                              V5.



                                                   MOHAMMAD DA VID HASHIMl,
                                                       SEEMA RAHMAN,
                                                     ABDULLAH AT TAQI and
                                                     KHALILULLAH YOUSUF,
                                                                                           Defendants.


                                                      INDICTMENT
                          (T. 18, U.S.C., §§ 981(aXl)(C), 981(a)Cl)(G), 982(a)(1), 982(b)(1), 1956(h),
                               2339B(a)(l), 2339B(d), 2 and 3551 et sefl.; T. 21, U.S.C., § 853(p);
                                                   T. 28, U.S.C.,§ 2461(c))

                              A true bill.



                                                                                              Foreperson


                        Filed in open court this                    day,
                        of                         ^£>.20


                                                                                                   C/7rA

                        Bail, $



                                    Douglas M.Pravda,Ian C. Richardson, Nina C. Gupta
                                          Assistant U.S. Attorneys(718) 254-7000
